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 1   Eric K. Fogderude, #070860
     FLETCHER & FOGDERUDE, INC.
 2   A Professional Corporation
     5412 North Palm Avenue, Suite 101
 3   Fresno, California 93704
     Telephone: (559) 431-9710
 4   Facsimile: (559) 431-4108
     E-Mail: efogderude1@yahoo.com
 5
     Attorney for Defendant, JERIEL SALINAS
 6
 7
 8
                           IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) CASE NO. 1:11-CR-00026 LJO
                                   )
12               Plaintiff,        ) WAIVER OF APPEARANCE AND REQUEST FOR
                                   ) ORDER AUTHORIZING WAIVER OF APPEARANCE
13   vs.                           )
                                   )
14   JERIEL SALINAS                )
                                   ) DATE: October 9, 2012
15               Defendants.       ) TIME: 8:00 a.m.
                                   ) COURTROOM: Honorable Lawrence J. O’Neill
16   ____________________________________)
17
18
19           TO THE HONORABLE LAWRENCE J. O’NEILL:
20           Defendant, JERIEL SALINAS, hereby waives his right to be present in person for the
21   status hearing currently set for October 9, 2012 at 8:00 a.m. Defendant hereby requests
22   the court to proceed in his absence and agrees that his interests will be deemed
23   represented at said hearing by the presence of his attorney ERIC K. FOGDERUDE. This
24   request is based upon the fact that it takes defendant 2.2 hours each way to travel from
25   Bakersfield to Fresno, California, that the mileage each way is 110 miles, that defendant is
26   living on a small income and currently unemployed, and that defendant has been staying
27   in regular communication with his lawyer. (See attached declaration of
28   counsel)


     U.S. vs. Salinas                                                                   Waiver of Appearance
     Case No. 11-00026
        Case 1:11-cr-00026-LJO Document 218 Filed 10/03/12 Page 2 of 3


 1
 2                                                                /s/ Jeriel Salinas
     DATED: October 1, 2012
 3                                                         _________________________________________
                                                                 JERIEL SALINAS, Defendant
 4
 5
                            DECLARATION OF ATTORNEY, ERIC K. FOGDERUDE
 6
 7
             I, ERIC K FOGDERUDE, do hereby declare under penalty of perjury as follows:
 8
             1. That I was appointed in January, 2011, to represent defendant JERIEL SALINAS,
 9
             2. That Defendant SALINAS has been in regular communication with me, including
10
     personal meetings at my office, facsimile transmissions, cell phone calls, and landline calls;
11
             3. I have seldom gone over three weeks without hearing from defendant SALINAS,
12
     who has regularly asked my advice about the progress of this case and inquired about
13
     discovery matters in his case;
14
             4. That defendant SALINAS has been regularly residing in the Bakersfield area and
15
     is supervised by the Pretrial Services Office. To my knowledge, he has been satisfactorily
16
     complying with conditions of Pretrial release and has always evidenced respect for the
17
     rulings of the court and the conditions of release;
18
             5. That defendant SALINAS has requested of me on October 7, 2011, that due to
19
     the distance involved in round trip travel from Bakersfield (approximately 220 miles from
20
     his home to Fresno, round trip), the cost of the trip, and the fact that he is presently
21
     unemployed and therefore has limited funds, and he be permitted to have me as his
22
     counsel appear for him in absentia.
23
     Executed in Fresno, California this 1st day of October, 2012.
24
25
                                                           /s/ Eric K. Fogderude
26                                                         _________________________________________
                                                           ERIC K. FOGDERUDE
27
28


     U.S. vs. Salinas                                                                     Waiver of Appearance
     Case No. 11-00026                                        2
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 2
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 3
                                    EASTERN DISTRICT OF CALIFORNIA
 4
 5
 6   UNITED STATES OF AMERICA,     ) CASE NO. 1:11-CR-00026 LJO
                                   )
 7               Plaintiff,        ) ORDER AUTHORIZING WAIVER
                                   ) PERSONAL OF APPEARANCE
 8   vs.                           )
                                   )
 9   JERIEL SALINAS                )
                                   )
10               Defendants.       )
                                   )
11   ____________________________________)
12
              GOOD CAUSE APPEARING, it is hereby ordered that Defendant, JERIEL SALINAS is
13
     hereby excused from appearing at the court hearing scheduled for October 9, 2012, at
14
     8:00 a.m.
15
16
17
18                                   IT IS SO ORDERED.
19   Dated:      October 2, 2012                        /s/ Lawrence J. O'Neill
     b9ed48                                         UNITED STATES DISTRICT JUDGE
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     U.S. vs. Salinas                                                                Waiver of Appearance
     Case No. 11-00026                                    3
